     Case 2:08-cr-00137-WFN     ECF No. 2531      filed 05/29/14    PageID.11933 Page 1 of 2




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 4                             UNITED STATES DISTRICT COURT
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                             EASTERN DISTRICT OF WASHINGTON
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     UNITED STATES OF AMERICA,
 7                                                       No.       2:08-CR-0137-WFN-23
                               Plaintiff,
 8                                                       ORDER TERMINATING
           -vs-                                          SUPERVISED RELEASE
 9
     SHAWNA LYNN ANDERSON,
10
                               Defendant.
11
12         Pending before the Court is Defendant's Motion for Order Amending Judgment in a
13   Criminal Case as to Supervised Release. ECF No. 2529. The Court will construe the
14   Motion as a motion to terminate supervised release pursuant to 18 U.S.C. § 3583(e)(1).
15   Court staff contacted Defendant's Probation Officer who indicated that Defendant is doing
16   well and has been compliant with the terms of supervised release. Defendant has served
17   approximately two years on supervised release. The Government is aware of the Motion,
18   but filed no response or objection. The Court considers the factors under 18 U.S.C. §3553
19   and determines that termination of supervised release is warranted by the conduct of the
20   Defendant and in the interests of justice.   The Court has reviewed the file and Defendant's
21   Motion and is fully informed. Accordingly,
22         IT IS ORDERED that:
23         1. Defendant's Motion for Order Amending Judgment in a Criminal Case as to
24   Supervised Release, filed May 1, 2014, ECF No. 2529, is GRANTED.
25         2. Defendant's term of supervised release shall be TERMINATED as of the date
26   of this Order.
27         The District Court Executive is directed to file this Order and provide copies to
28   counsel AND TO United States Probation Officer Anne Sauther.


     ORDER - 1
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 1              DATED this 29th day of May, 2014.
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 4                                               s/ Wm. Fremming Nielsen
                                                   WM. FREMMING NIELSEN
 5   05-06-14                               SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER - 2
